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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

   UNITED STATES OF AMERICA,

       v.
                                                        Criminal Action No. ELH-01-377
   NACOE BROWN,
     Defendant.

                                 MEMORANDUM OPINION

       Nacoe Brown is serving a sentence of 300 months imprisonment for multiple bank

robberies that he committed in 2001. Brown has been in custody since his arrest in July 2001.

Through counsel, he has filed an “Emergency Motion For Compassionate Release Pursuant To

18 U.S.C. § 3582(c)(1)(A)(i).” ECF 157 (the “Motion”). The Motion is supported by ten

exhibits, including defendant’s medical records. ECF 157-1 to ECF 157-10. The government

opposes the Motion (ECF 165) and has submitted two exhibits.             ECF 167; ECF 167-1.

Defendant has replied (ECF 171) and has submitted an additional exhibit. ECF 171-1. 1

       No hearing is necessary to resolve the Motion. For the reasons that follow, I shall grant

the Motion.

                                  I.   Factual Background 2



       1
          By Order of August 14, 2020 (ECF 162), I granted the “Consent Motion For Partial
Stay And Briefing Schedule” (ECF 161), by which I stayed the briefing of that portion of the
Motion that relies on sentencing disparity as a “compelling reason” for relief, pending the Fourth
Circuit’s decision in United States v. Keith Bryant, CCF-95-0202, 2020 WL 2085471 (D. Md.
Apr. 30, 2020).
       2
          The electronic docket is not available in this case until the entry of ECF 68 on August
12, 2008. However, I have reviewed the Chambers file of Judge Andre Davis, to whom the case
was initially assigned, and Judge J. Frederick Motz, to whom the case was reassigned after Judge
Davis was appointed to the U.S. Court of Appeals for the Fourth Circuit. The case was
reassigned to me in April 2018, due to the retirement of Judge Motz.
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          On July 11, 2001, a grand jury in the District of Maryland returned an indictment

charging Brown with two counts of bank robbery, in violation of 18 U.S.C. § 2113 (a), (d), and

(f). ECF 1. A superseding indictment was returned on August 29, 2001, charging Brown with

two additional counts of bank robbery. ECF 13.

          Brown elected to proceed to a jury trial. See Docket. 3 Judge Andre M. Davis, to whom

the case was originally assigned, presided at the trial. See id. After a two-week trial, the jury

convicted Brown as to Count Two (Bank Robbery of 5/11/01); Count Three (Bank Robbery of

4/4/01); and Count Four (Bank Robbery of 3/12/01). But, the jury was unable to reach a verdict

with regard to Count One (Bank Robbery of 6/8/2001). ECF 23 (Verdict).

          Prior to Brown’s sentencing, the United States Probation Office completed a Presentence

Report.        ECF 172 (“PSR”). 4   According to the PSR, Brown and his coconspirator, Kevin

Hilliard, committed several bank robberies in 2001. ECF 172, ¶¶ 7-9. 5 Brown and Hilliard used

force and intimidation in furtherance of their objectives, including the assault of bank employees

by use of what appeared to be a dangerous weapon. Id. In actuality, the weapon was a toy gun.

ECF 165 at 17 n.12.

          Pursuant to the sentencing Guidelines (“Guidelines” or “U.S.S.G.”), Brown had a base

offense level of 20 for each robbery. ECF 172, ¶¶ 13, 21, 29. Brown’s offense level was

increased by two, pursuant to U.S.S.G. § 3C1.1, for “obstruction of justice,” because he

          3
         The prosecutor, A.U.S.A. Jonathan Luna, died in 2003 and, to my knowledge, the
circumstances of his death remain unsolved. Brown’s defense attorney, Kenneth Ravenell, is
under federal indictment in Maryland on charges of conspiracy to commit racketeering, money
laundering, and drug distribution. See United States v. Kenneth Ravenell, LO-19-0449.
          4
          Both counsel cited to the PSR but it is not electronically available, and neither side
provided the Court with a copy. Fortunately, I located a copy in the Chambers file and submitted
it for docketing. See ECF 172.
          5
          Hilliard pled guilt to one count of bank robbery, in violation of 18 U.S.C. § 2113(a) and
(f), and was sentenced to 50 months in prison. ECF 172, ¶ 5.
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attempted to escape federal custody pending trial in October 2001. Id. ¶¶ 19, 27, 35. And,

because a dangerous weapon was brandished, three levels were added under U.S.S.G.

§ 2B3.1(b)(2)(E). Id. ¶¶ 16, 24, 32. With grouping, Brown had a combined offense level of 32.

Id. ¶¶ 44, 45. But, because the instant crimes were bank robberies and Brown had four prior

robbery convictions, id. ¶ 46, the PSR deemed Brown a Career Offender pursuant to § 4B1.1. Id.

¶ 46. As a result, Brown’s offense level jumped two levels, to 34. Id. ¶ 48.

          With 19 criminal history points (id. ¶ 62), and as a Career Offender, Brown had a

Criminal History Category of VI. Id. ¶ 63. Based on an offense level of 34 and a Criminal

History Category of VI, Brown’s sentencing Guidelines called for a period of incarceration

ranging from 262 to 300 months of imprisonment. Id. ¶ 70. 6

          Sentencing was held on December 13, 2002. See Docket. At the time, the Guidelines

were mandatory; the Supreme Court had not yet decided United States v. Booker, 543 U.S. 221

(2005).

          Brown, who was born in 1968, was 34 years old. ECF 157; ECF 172 at 1. He stood five

feet, eleven inches tall and weighed 250 pounds. Id. ¶ 88. That equated to a BMI of 34.9. See

Calculate Your BMI, https://www.nhlbi.nih.gov/health/educational/lose_wt/BMI/bmicalc.htm.

Brown’s prior record reflected convictions for the following offenses: four robberies (one in

1984, age 16; three in 1985, age 17); second-degree rape (1985, age 17); escape (1991, age 23);

and third-degree sex offense (1997, age 29). ECF 172, ¶¶ 51-61.




          6
         If Brown were not a Career Offender, with an offense level of 32 and a Criminal
History of VI, his Guidelines range would have been 210 to 262 months of imprisonment. ECF
157 at 18.

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       Pursuant to the Guidelines, Judge Davis imposed concurrent terms of imprisonment of

300 months per count. ECF 31 (Judgment). And, the defendant was required to pay restitution

of $378,666. Id.

       Brown appealed, and raised numerous contentions. The Fourth Circuit affirmed Brown’s

conviction and sentence. See United States v. Brown, 96 F. App’x 112 (4th Cir. 2004) (per

curiam). It said: “We have reviewed the record, together with Brown’s claims on appeal, and

find no basis on which to vacate his conviction or sentence.” Id. at 113.

       In 2005, and again in 2007, Brown, then self-represented, moved to vacate his sentence

under 28 U.S.C. § 2255. ECF 55; ECF 77. Judge Davis denied both motions (ECF 63; ECF 85),

and the Fourth Circuit affirmed both rulings. ECF 65; ECF 100.

        On June 22, 2016, the Fourth Circuit authorized Brown to file a successive § 2255

motion based on United States v. Johnson, 576 U.S. 591 (2015). ECF 109; ECF 157 at 4. That

motion (ECF 110), at the request of defense counsel, has been held in abeyance pending

resolution of other cases in the Fourth Circuit that might be relevant. See ECF 115; ECF 119;

ECF 134; ECF 157 at 4.

       Brown is now 52 years of age. ECF 157. He is presently incarcerated at Victorville

Medium I FCI. Id. at 2. Given that Brown was arrested on July 26, 2001, he has served more

than 19 years in prison. ECF 157-8 (Summary Reentry Plan – Progress Report). 7 This equates

to approximately 75% of his sentence, exclusive of good time credit under 18 U.S.C. § 3624(b).

Id. Accounting for good time credit, Brown has served about 90% of his sentence. ECF 157 at

1. He has a projected release date of May 24, 2023. ECF 157-8.


       7
          The PSR reflects an arrest date of July 26, 2001. And, the Judgment (ECF 31)
expressly gives credit from the date of arrest. Yet, ECF 157-8 seems to indicate a start date for
the sentence of December 13, 2002.

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       Brown first petitioned the Warden of Victorville FCI for compassionate relief on

December 6, 2019. ECF 157 at 6. When he did not receive a response, Brown contacted the

Warden again on January 19, 2020. Again, he did not receive a response. Id. Thereafter, on

March 3, 2020, Brown, then self-represented, moved for a sentence reduction with this Court.

See ECF 148. Thereafter, through appointed counsel, Brown filed the Motion at issue. ECF

157.

       Because Brown’s original request was filed before the pandemic, it did not reference

COVID-19. ECF 157 at 6 n.5. But, on July 29, 2020, Brown’s counsel filed a supplemental

request with the Warden, seeking compassionate release on Brown’s behalf due to COVID-19.

ECF 157-10. The government does not dispute that Brown has met the minimum administrative

prerequisite under § 3582(c)(1)(A). ECF 165 at 8.

       Additional facts are included, infra.

                                  II.   Standard of Review

       Ordinarily, a court “may not modify a term of imprisonment once it has been imposed.”

18 U.S.C. § 3582(c); see United States v. Chambers, 956 F.3d 667, 671 (4th Cir. 2020); United

States v. Jackson, 952 F.3d 492, 495 (4th Cir. 2020); United States v. Martin, 916 F.3d 389, 395

(4th Cir. 2019). But, “the rule of finality is subject to a few narrow exceptions.” Freeman v.

United States, 564 U.S. 522, 526 (2011). One such exception is when the modification is

“expressly permitted by statute.” 18 U.S.C. § 3582(c)(1)(B); see Jackson, 952 F.3d at 495.

       Commonly termed the “compassionate release” provision, 18 U.S.C. § 3582(c)(1)(A)(i)

provides a statutory vehicle to modify a defendant’s sentence. Section 3582 was adopted as part

of the Sentencing Reform Act of 1984. It originally permitted a court to alter a sentence only

upon a motion by the Director of the BOP. See Pub. L. No. 98-473, § 224(a), 98 Stat. 2030



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(1984). Thus, a defendant seeking compassionate release had to rely on the BOP Director for

relief. See, e.g., Orlansky v. FCI Miami Warden, 754 F. App’x 862, 866-67 (11th Cir. 2018);

Jarvis v. Stansberry, No. 2:08CV230, 2008 WL 5337908, at *1 (E.D. Va. Dec. 18, 2008)

(denying motion for compassionate release motion because § 3582 “vests absolute discretion” in

the BOP).

       However, for many years the safety valve of § 3582 languished. BOP rarely filed

motions on an inmate’s behalf. As a result, compassionate release was exceedingly rare. See

Hearing on Compassionate Release and the Conditions of Supervision Before the U.S.

Sentencing Comm’n 66 (2016) (statement of Michael E. Horowitz, Inspector General, Dep’t of

Justice) (observing that, on average, only 24 inmates were granted compassionate release per

year between 1984 and 2013).

       In December 2018, Congress significantly amended the compassionate release

mechanism when it enacted the First Step Act of 2018 (“FSA”). See Pub. L. 115-391, 132 Stat.

5239 (2018). As amended by the FSA, 18 U.S.C. § 3582(c)(1)(A) permits a court to reduce a

defendant’s term of imprisonment “upon motion of the Director of [BOP], or upon motion of the

defendant after the defendant has fully exhausted all administrative rights to appeal a failure of

the [BOP] to bring a motion on the defendant’s behalf or the lapse of 30 days from the receipt of

such a request by the warden of the defendant’s facility,” whichever occurs first. So, once a

defendant has exhausted his administrative remedies, he may petition a court directly for

compassionate release.

       Under § 3582(c)(1)(A), the court may modify the defendant’s sentence if, “after

considering the factors set forth in section 3553(a) to the extent that they are applicable,” it finds

that



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       (i) extraordinary and compelling reasons warrant such a reduction;

       (ii) the defendant is at least 70 years of age, has served at least 30 years in prison,
       pursuant to a sentence imposed under section 3559(c), for the offense or offenses
       for which the defendant is currently imprisoned, and a determination has been
       made by the Director of the Bureau of Prisons that the defendant is not a danger to
       the safety of any other person or the community, as provided under section
       3142(g);

       and that such a reduction is consistent with applicable policy statements issued by
       the Sentencing Commission . . . .

       Accordingly, in order to be entitled to relief under 18 U.S.C. § 3582(c)(1)(A)(i), the

defendant must demonstrate that (1) “extraordinary and compelling reasons” warrant a reduction

of his sentence; (2) the factors set forth in 18 U.S.C. § 3553(a) countenance a reduction; and (3)

the sentence modification is “consistent” with the policy statement issued by the Sentencing

Commission in U.S.S.G. § 1B1.13.

       “When deciding whether to reduce a defendant’s sentence under § 3582(c)(1)(A), a

district court may grant a reduction only if it is ‘consistent with applicable policy statements

issued by the Sentencing Commission.’” United States v. Taylor, ___ F. App’x ___, 2020 WL

5412762, at * 1 (4th Cir. Sept. 9, 2020) (per curiam) (citing 18 U.S.C. § 3582(c)(1)(A)); see also

28 U.S.C. § 994(t) (directing Sentencing Commission to “describe what should be extraordinary

and compelling reasons for sentence reduction”).

       U.S.S.G. § 1B1.13 is titled “Reduction in Term of Imprisonment under 18 U.S.C.

§ 3582(c)(1)(A) Policy Statement.” U.S.S.G. § 1B1.13(1)(A) provides for a sentence reduction

based on “extraordinary and compelling reasons,” and § 1B1.13(1)(B) provides for a reduction

based on age, in combination with other requirements. U . S . S . G . § 1B1.13(2) establishes as a

relevant factor that “the defendant is not a danger to the safety of any other person or to the

community, as provided in 18 U.S.C. § 3142(g).”



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       The Application Notes permit compassionate release based on circumstances involving

illness, declining health, age, exceptional family circumstances, as well as “other reasons.”

Application Note 1 of U.S.S.G. § 1B1.13 defines “Extraordinary and Compelling Reasons” in

part as follows (emphasis added):

        1. Extraordinary and Compelling Reasons.—Provided the defendant
        meets the requirements of subdivision (2), extraordinary and compelling
        reasons exist under any of the circumstances set forth below:

         (A) Medical Condition of the Defendant.—

             (i) The defendant is suffering from a terminal illness (i.e., a serious and
             advanced illness with an end of life trajectory). A specific prognosis of life
             expectancy (i.e., a probability of death within a specific time period) is not
             required. Examples include metastatic solid-tumor cancer, amyotrophic
             lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.

             (ii) The defendant is—

                (I) suffering from a serious physical or medical condition,

                (II) suffering from a serious functional or cognitive impairment, or

                (III) experiencing deteriorating physical or mental health because of
                the aging process,

           that substantially diminishes the ability of the defendant to provide self-care
           within the environment of a correctional facility and from which he or she is
           not expected to recover.

       Application Note 1(B) provides that age is an extraordinary and compelling reason where

the defendant is at least 65 years of age, has serious physical or mental health issues, and has

served at least 10 years in prison or 75% of the sentence. Application Note 1(C) concerns

Family Circumstances. Application Note 1(D) is titled “Other Reasons.” It permits the

court to reduce a sentence where, “[a]s determined by the Director of the Bureau of Prisons,

there exists in the defendant’s case an extraordinary and compelling reason other than, or in



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combination with, the reasons described in subdivisions (A) through (C).” U.S.S.G. § 1B1.13

App. Note 1(D).

       The BOP regulation appears at Program Statement 5050.50, Compassionate

Release/Reduction in Sentence: Procedures for Implementation of 18 U.S.C. §§ 2582 and

4205. The Court may not rely on the Program Statement, however. Rather, the Court must

consider the Sentencing Commission’s policy statements. Taylor, 2020 WL 5412762, at * 1.

       The defendant, as the movant, bears the burden of establishing that he is entitled to a

sentence reduction under 18 U.S.C. § 3582. See, e.g., United States v. Hamilton, 715 F.3d 328,

337 (11th Cir. 2013); United States v. Edwards, NKM-17-00003, 2020 WL 1650406, at *3

(W.D. Va. Apr. 2, 2020). If the defendant can show an extraordinary and compelling reason that

renders him eligible for a sentence reduction, the Court must then consider the factors under 18

U.S.C. § 3553(a) to determine whether, in its discretion, a reduction of sentence is appropriate.

Dillon, 560 U.S. at 827. But, compassionate release is a “rare” remedy. United States v.

Chambliss, 948 F.3d 691, 693-94 (5th Cir. 2020); United States v. Mangarella, FDW-06-151,

2020 WL 1291835, at *2-3 (W.D. N.C. Mar. 16, 2020); White v. United States, 378 F. Supp. 3d

784, 787 (W.D. Mo. 2019).

                                      III.    COVID-19 8

       Defendant filed his Motion while the nation is “in the grip of a public health crisis more

severe than any seen for a hundred years.” Antietam Battlefield KOA v. Hogan, CCB-20-1130,

___ F. Supp. 3d ___, 2020 WL 2556496, at *1 (D. Md. May 20, 2020). That crisis is COVID-




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           The Court may take judicial notice of matters of public record. See Fed. R. Evid. 201.


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19. 9 The World Health Organization declared COVID-19 a global pandemic on March 11, 2020.

See Seth v. McDonough, PX-20-1028, 2020 WL 2571168, at *1 (D. Md. May 21, 2020).

       The judges of this Court “have written extensively about the pandemic.” United States v.

Williams, PWG-19-134, 2020 WL 3073320, at *1 (D. Md. June 10, 2020) (collecting cases).

Therefore, it is not necessary to recount in detail the “unprecedented nature and impact” of the

pandemic. Id.

       That said, the Court must underscore that the virus is highly contagious. See Coronavirus

Disease 2019 (COVID-19), How COVID-19 Spreads, CTRS. FOR DISEASE CONTROL &

PREVENTION (Apr. 2, 2020), https://bit.ly/2XoiDDh. Moreover, although many people who are

stricken with the virus experience only mild or moderate symptoms, the virus can cause severe

medical problems as well as death, especially for those in “high-risk categories . . . .” Antietam

Battlefield KOA, 2020 WL 2556496, at *1 (citation omitted). As of September 22, 2020,

COVID-19 has infected more than 6.8 million Americans and caused over 200,400 deaths in this

country. See COVID-19 Dashboard, THE JOHNS HOPKINS UNIV., https://bit.ly/2WD4XU9 (last

accessed Sept. 22, 2020).

       The COVID-19 pandemic is the worst public health crisis that the world has experienced

since 1918. See United States v. Hernandez, ___ F. Supp. 3d ___, 2020 WL 1684062, at *3

(S.D.N.Y. Apr. 2, 2020) (“The COVID-19 pandemic . . . . presents a clear and present danger to

free society for reasons that need no elaboration.”). The pandemic “has produced unparalleled

and exceptional circumstances affecting every aspect of life as we have known it.” Cameron v.

       9
         Severe Acute Respiratory Syndrome Coronavirus 2 (SARS-CoV-2) is the cause of
coronavirus disease 2019, commonly called COVID-19. See Naming the Coronavirus Disease
and the Virus that Causes It, WORLD HEALTH ORG., https://bit.ly/2UMC6uW (last accessed June
15, 2020).




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Bouchard, LVP-20-10949, 2020 WL 2569868, at *1 (E.D. Mich. May 21, 2020), stayed, ___

Fed. App’x ___, 2020 WL 3100187 (6th Cir. June 11, 2020). Thus, for a significant period of

time, life as we have known it came to a halt. And, in view of the recent resurgence of the virus,

many businesses, colleges, universities, and secondary schools are again facing restrictions or

closure.

       Unfortunately, there is currently no vaccine, cure, or proven treatment that is available.

Moreover, according to the Centers for Disease Control and Prevention (“CDC”), certain risk

factors increase the chance of severe illness. Those risk factors initially included age (over 65);

lung disease; asthma; chronic kidney disease; serious heart disease; obesity; diabetes; liver

disease; and a compromised immune system. See Coronavirus Disease 2019 (COVID-19),

People Who Are at Risk for Severe Illness, CTRS. FOR DISEASE CONTROL & PREVENTION (May

14, 2020), https://bit.ly/2WBcB16.

       On June 25, 2020, the CDC revised its guidance. Then, on July 17, 2020, to reflect the

most recently available data, the CDC again revised its guidance as to medical conditions that

pose a greater risk of severe illness due to COVID-19. See People of Any Age with Underlying

Medical Conditions, CTRS. FOR DISEASE CONTROL & PREVENTION (July 17, 2020),

https://bit.ly/38S4NfY. According to the CDC, the factors that increase the risk include cancer;

chronic kidney disease; COPD; being immunocompromised; obesity, where the body mass index

(“BMI”) is 30 or higher; serious heart conditions, including heart failure and coronary artery

disease; sickle cell disease; and Type 2 diabetes.

       The CDC has also created a second category for conditions that “might” present a risk for

complications from COVID-19. The factors that might increase the risk include cerebrovascular

disease, hypertension, pregnancy, liver disease, cystic fibrosis, neurologic conditions, a



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compromised immune system, smoking, and Type I diabetes. See id. Moderate to severe asthma

is an underlying medical condition that was moved to the new category by the CDC; it is now

identified as a condition that “might” put an individual at higher risk for COVID-19

complications. See id.

       Thus far, the only way to slow the spread of the virus is to practice “social distancing.”

See Coronavirus Disease 2019 (COVID-19), How to Protect Yourself & Others, CTRS. FOR

DISEASE CONTROL & PREVENTION, https://bit.ly/3dPA8Ba (last accessed May 21, 2020). Social

distancing is particularly difficult in the penal setting, however. Seth, 2020 WL 2571168, at *2.

Prisoners have little ability to isolate themselves from the threat posed by the coronavirus. Id.;

see also Cameron, 2020 WL 2569868, at *1. They are not readily able to secure safety products

on their own to protect themselves, such as masks and hand sanitizers.               Consequently,

correctional facilities are especially vulnerable to viral outbreaks and ill-suited to stem their

spread. See Coreas v. Bounds, TDC-20-0780, 2020 WL 1663133, at *2 (D. Md. Apr. 3, 2020)

(“Prisons, jails, and detention centers are especially vulnerable to outbreaks of COVID-19.”); see

also Letter of 3/25/20 to Governor Hogan from approximately 15 members of Johns Hopkins

faculty at the Bloomberg School of Public Health, School of Nursing, and School of Medicine

(explaining that the “close quarters of jails and prisons, the inability to employ effective social

distancing measures, and the many high-contact surfaces within facilities, make transmission of

COVID-19 more likely”); 10 accord Brown v. Plata, 563 U.S. 493, 519-20 (2011) (referencing a

medical expert’s description of the overcrowded California prison system as “‘breeding grounds

for disease’”) (citation omitted).




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            The Court may take judicial notice of matters of public record. Fed. R. Evid. 201.

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        The Department of Justice (“DOJ”) has recognized the unique risks posed to inmates and

employees of the Bureau of Prisons (“BOP”) from COVID-19. It has adopted the position that

an inmate who presents with one of the risk factors identified by the CDC should be considered

as having an “extraordinary and compelling reason” warranting a sentence reduction.        See

U.S.S.G. § 1B1.13 cmt. n.1(A)(ii)(I).

        Attorney General William Barr issued a memorandum to Michael Carvajal, Director of

the BOP, on March 26, 2020, instructing him to prioritize the use of home confinement for

inmates at risk of complications from COVID-19. See Hallinan v. Scarantino, 20-HC-2088-FL,

2020 WL 3105094, at *8 (E.D. N.C. June 11, 2020). Then, on March 27, 2020, Congress passed

the Coronavirus Aid, Relief, and Economic Security Act (the “CARES Act”), Pub. L. No. 116-

136, 134 Stat. 281. In relevant part, the CARES Act authorized the Director of BOP to extend

the permissible length of home confinement, subject to a finding of an emergency by the

Attorney General. See Pub. L. No. 116-136, § 12003(b)(2). On April 3, 2020, the Attorney

General issued another memorandum to Carvajal, finding “the requisite emergency . . . .”

Hallinan, 2020 WL 3105094, at *9. Notably, the April 3 memorandum “had the effect of

expanding the [BOP’s] authority to grant home confinement to any inmate . . . .” Id.

        On March 23, 2020, the CDC issued guidance for the operation of penal institutions to

help prevent the spread of the virus. Seth, 2020 WL 2571168, at *2. Notably, the BOP has

implemented substantial measures to mitigate the risks to prisoners, to protect inmates from

COVID-19, and to treat those who are infected.       See ECF 165 at 13-14 (detailing BOP’s

measures to thwart the spread of the virus). Indeed, as the Third Circuit recognized in United

States v. Raia, 954 F.3d 594, 597 (3rd Cir. 2020), the BOP has made “extensive and professional

efforts to curtail the virus’s spread.”



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       As with the country as a whole, however, the virus persists in penal institutions. 11 As of

September 22, 2020, the BOP had 126,798 federal inmates and 36,000 staff.             Also as of

September 22, 2020, the BOP reported that 1,948 inmates and 672 BOP staff currently tested

positive for COVID-19; 12,330 inmates and 1,099 staff had recovered from the virus; and 122

inmates and two staff member have died from the virus. And, the BOP has completed 56,220

COVID-19 tests. See https://www.bop.gov/coronavirus/ (last accessed Sept. 22, 2020). See

COVID-19, FED. BUREAU OF PRISONS, https://bit.ly/2XeiYH1.

       With respect to Victorville Medium I FCI, where the defendant is a prisoner, as of

September 22, 2020, the BOP reported that 38 inmates and 7 staff have currently tested positive

for COVID-19, and 319 inmates and 10 staff have recovered at the facility. See

https://www.bop.gov/coronavirus/ (last accessed Sept. 22, 2020). One inmate has passed away.

Id.

                                     IV.    Discussion

       Brown moves for compassionate release on two grounds. ECF 157. First, he asserts that

his obesity, coupled with the conditions at Victorville FCI render him particularly vulnerable to

COVID-19. ECF 157 at 3. Alternatively, Brown contends that the “marked disparity between

the overly harsh sentence” he received in 2002 and the sentence he would receive today also

constitute grounds for compassionate release.       Id. at 3. As a result of changes in federal

sentencing law, defendant posits, he would no longer be subject to the mandatory guidelines or a

mandatory career offender enhancement. Id. at 2. Therefore, he believes the court “would likely



       11
           The New York Times reported in June 2020 that cases of COVID-19 “have soared in
recent weeks” at jails and prisons across the country. Timothy Williams et al., Coronavirus
cases Rise Sharply in Prisons Even as They Plateau Nationwide, N.Y. TIMES (June 18, 2020),
https://nyti.ms/37JZgH2.

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impose a substantial variance below the career offender guideline range.” 12 Id. Further, he

argues that the 18 U.S.C. § 3553(a) sentencing factors counsel in favor of reducing his sentence

to time served. Id. at 19-23.

       The government concedes that the conditions at Victorville are “alarming” and Brown’s

obesity “could qualify him” for compassionate release. ECF 165 at 9. But, it contends that

obesity alone, without any other medical issues, is not sufficiently compelling to merit relief

under § 3582(c)(1)(A)(i). Id. at 9-12, 14. In any event, the government asserts that Brown is

ineligible for release because he is a danger to the community.         Id. at 15-20. And, the

government maintains that the § 3553(a) factors militate against a reduction of Brown’s

sentence. Id. at 20-21.

       As an initial matter, Brown has presented a medical condition that, in light of COVID-19,

qualifies as a compelling basis to grant compassionate release.   Brown’s medical records and

exhibits show that he is five feet, ten inches tall and weighs 269 pounds, with a BMI of

approximately 39. ECF 171 at 3; ECF 167 (medical records). The CDC identifies obesity as a

COVID-19 risk factor supported by the “strongest, most consistent evidence” drawn from

multiple medical studies of the effects of the virus. Coronavirus Disease 2019 (COVID-19),

Evidence Used to Update the List of Underlying Medical Conditions That Increase a Person’s

Risk of Severe Illness from COVID-19, CTRS. FOR DISEASE CONTROL & PREVENTION (July 28,

2020), https://bit.ly/2PLhO2b.



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          As noted, the parties have agreed to a partial stay with respect to Brown’s claim as to
whether the alleged sentencing disparity constitutes grounds for compassionate release, pending
the Fourth Circuit’s decision in United States v. Keith Bryant, et al., Case Nos. 20-6869, 20-
6875, 20-6877. ECF 161; ECF 162. Accordingly, the Court will not reach this issue. As
discussed below, however, Brown’s alleged sentencing disparity is clearly relevant to the Court’s
consideration of the factors set forth in 18 U.S.C. § 3553(a).

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       Moreover, numerous courts have found that, in light of the COVID-19 pandemic, severe

obesity, and in particular a BMI above 30, qualifies as a compelling reason for compassionate

release. See, e.g., United States v. Williams, PWG-19-134, 2020 WL 3073320 (D. Md. June 10,

2020) (finding obese defendant with a BMI of 32.5 qualified for compassionate release in light

of COVID-19); United States v. Staten, PJM-01-284-4, 2020 WL 4904270, at *2 (D. Md. Aug.

18, 2020) (finding an “extraordinary and compelling reason” for compassionate release based on

a BMI of 38); United States v. Dawson, No. 18-40085, 2020 WL 1812270, at *7 (D. Kan. Apr. 9,

2020) (granting compassionate release based on a defendant’s obesity: “He has a medical

condition (obesity) that the CDC recognizes puts him at an increased risk of developing serious

illness if he were to become infected with COVID-19.”); United States v. Daniels, No. 19-00709,

2020 WL 181342, at *2 (N.D. Cal. Apr. 9, 2020) (finding severe obesity constitutes compelling

reason for release).

       In addition, given the current number of cases at Victorville FCI, it cannot be disputed

that the coronavirus has entered the prison. And, the fact that the virus has continued to spread

despite the institution’s “modified lockdown” indicates that the precautionary measures are not

working. ECF 171 at 5; ECF 171-1 (Memo from Warden to Inmate Population re COVID-19

Precautionary Measures). Accordingly, I am satisfied that, given Brown’s obesity, coupled with

the rate of infection at Victorville FCI, he satisfies the “extraordinary and compelling” prong of

the § 3582 analysis.

       The Court must next consider whether the defendant poses a danger to the community

and the factors set forth in 18 U.S.C. § 3553(a). See 18 U.S.C. § 3582(c)(1)(A). These factors

include: (1) the nature of the offense and the defendant’s characteristics; (2) the need for the

sentence to reflect the seriousness of the offense, promote respect for the law, and provide just



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punishment; (3) the kinds of sentences available and the applicable Guidelines range; (4) any

pertinent Commission policy statements; (5) the need to avoid unwarranted sentence disparities;

and (6) the need to provide restitution to victims. 18 U.S.C. § 3553(a).

       The government maintains that Brown presents a danger to the community and that the

factors under 18 U.S.C. § 3553(a) militate against granting the Motion. ECF 165 at 15-21. It

argues that Brown is a “violent offender and a recidivist” because he was convicted of a “string

of violent armed bank robberies” and “has an extensive, sometimes violent, criminal history.”

Id. at 16-18. And, the specific danger posed by his release is that “his resort to robbery as a

livelihood could reemerge and result in further incidents in the community.” Id. at 20.

       As defendant notes, he was convicted and sentenced in 2002, when the Guidelines were

mandatory. Since then, the laws under which Brown received his 300-month sentence have

changed. The Supreme Court declared in 2005 that the Guidelines are merely advisory, such that

a district court may now impose a sentence outside the prescribed range if warranted by the

factors under 18 U.S.C. § 3553(a). See United States v. Booker, 543 U.S. 221 (2005). However,

the government observes that Judge Davis’s decision to sentence Brown to 300 months in prison

was not driven by the mandatory nature of the Guidelines at the time. ECF 165 at 21. Judge

Davis certainly could have imposed a sentence at the bottom of the Guidelines – 262 months.

Instead, he imposed a sentence at the top of the applicable Guidelines range.

       To be sure, the gravity of Brown’s crimes cannot be minimized. He was charged with

serious offenses and, following a lengthy trial, he was convicted of three bank robberies.

Moreover, his criminal history is extensive.

       The majority of Brown’s criminal history stems from conduct that occurred when he was

an older teenager. ECF 157 at 18; ECF 172, ¶¶ 51-60. In particular, in 1985, Brown pleaded



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guilty to four counts of robbery by way of purse snatchings. The offenses were committed in

1984 and 1985, when he was 16 and 17 years of age. ECF 157 at 18; ECF 172, ¶¶ 51-56.

Notably, Brown was prosecuted as an adult for those offenses, and he was sentenced for all of

the offenses in September 1985. Id. He received concurrent terms of eight years’ incarceration

for two of the robberies and four years for the other two. ECF 172, ¶¶ 51-56, 84. Ultimately,

Brown served approximately six years in prison. Id. He was also convicted in 1985 of second-

degree rape, for which he was sentenced to seven years of imprisonment. Id. ¶ 58. And, he was

sentenced to another two years in prison in 1997, after being convicted of a third-degree sex

offense. Id. ¶¶ 60, 61.

       Brown was deemed to be a Career Offender based at least partially on the unarmed

robberies he committed when he was 16 and 17 years old. ECF 172, ¶ 64. However, the defense

does not argue that Brown was erroneously determined to be a Career Offender. Cf. United

States v. Chambers, 965 F.3d 667 (4th Cir. 2020); United States v. Cleveland Laquincy Griffin,

__ F. App’x __, 2020 WL 5525777, at *1 (4th Cir. Sept. 15, 2020). Under U.S.S.G. § 4B1.2(a),

the term “crime of violence” means:

       [A]ny offense under federal or State law, punishable by imprisonment for a term
       exceeding one year, that –

       (1) has as an element the use, attempted use, or threatened use of physical force
           against the person of another, or

       (2) is murder, voluntary manslaughter, kidnapping, aggravated assault, a forcible
           sex offense, robbery, arson, extortion….

       And, “robbery is a crime of violence regardless of the presence of a weapon.” United

States v. Davis, 915 F.2d 132, 133 (4th Cir. 1990) (finding unarmed bank robbery was a “crime

of violence” within the meaning of sentencing guideline on Career Offenders); United States v.

Waddell, 18 F. App’x 155, 156 (4th Cir. 2001) (same).

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       Nevertheless, defendant contends that he should not have been prosecuted as an adult for

the robberies under Maryland law because he was not armed and was under 18 years of age.

ECF 157 at 18 (citing Crosby v. State, 71 Md. App. 56, 523 A.2d 1042, 1043–44 (1987) (quoting

Md. Code (2013 Repl. Vol.), § 3-804(e) of the Cts. & Jud. Proc. Article); United States v.

Bradshaw, 999 F.2d 798, 800 (4th Cir. 1993) (“The juvenile courts would retain jurisdiction over

a juvenile charged with robbery that did not involve the use of a weapon.”)). And, Brown has

already served a sentence that exceeds the top end of the Guidelines that would have applied if

Brown had not been deemed a Career Offender. However, under U.S.S.G. § 4B1.1(a), a prior

felony conviction need not be an adult conviction to qualify as a Career Offender predicate.

       In any event, Brown argues that Judge Davis might have sentenced him to less than the

Guidelines range, given the opportunity. See ECF 157 at 17-18 (citing statistics on typical

sentences imposed for Career Offenders below mandatory guidelines). But, that argument is at

odds with Judge Davis’s decision to sentence Brown at the top end of the Guidelines range,

knowing that Brown committed several of his prior offences when he was a teenager.

       Brown’s behavior for the past 19 years, while in BOP custody, is an indicator of whether

he remains a danger to the community. Courts place significant weight on a defendant’s post-

sentencing conduct because it “provides the most up-to-date picture of [his] ‘history and

characteristics.’” See Pepper v. United States, 562 U.S. 476, 492 (2011) (citing 18 U.S.C. §

3553(a)(1)); see also United States v. Scott, CCB-95-202, 2020 WL 2467425, at *4 (D. Md. May

13, 2020).

       In this regard, it is noteworthy that Brown does not appear to accept responsibility for his

criminal conduct. As noted, in 2005 and 2007, Brown filed motions to vacate under 28 U.S.C. §

2255. ECF 55; ECF 77. He argued, inter alia, that he was entitled to a new trial because



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$30,000 in cash disappeared from evidence during his trial. See ECF 171 at 8. Brown also

suggested that the prosecutor, who is now deceased, stole that money. See id. According to the

government, the defendant also “attack[ed] the integrity of the Honorable Judges Davis and

Motz” in his pleadings. ECF 165 at 2. 13 The defendant responds that he was just noting that

“Judges Davis and Motz were interviewed by the FBI [about the disappearance of the money],

and suggested that they should have been recused from his case as a result.” ECF 171 at 9.

       Brown appears to cast blame on everyone but himself. He has been relentless, if not

vexatious, in filing motions challenging various aspects of his case and in seeking relief. See,

e.g., ECF 60; ECF 67; ECF 70; ECF 76; ECF 82; ECF 90; ECF 92; ECF 98; ECF 102; ECF 103;

ECF 104; ECF 107; ECF 112; ECF 121; ECF 126; ECF 127; ECF 128; ECF 137; ECF 138; ECF

140; ECF 148.

       The Court would never criticize a defendant’s zealous pursuit of a claim of innocence.

Nor do I criticize Brown’s quest for his freedom. Indeed, his persistence is admirable. But, in

light of the evidence of guilt, his apparent failure to accept responsibility is a concern, because

acceptance of responsibility for misconduct is an important step on the road to becoming a law-

abiding citizen.

       Nevertheless, it is also significant that, over the course of more than 19 years in prison,

Brown has incurred only a few minor infractions. ECF 157 at 21; ECF 167-1 (disciplinary

record). And, as defendant notes, none of the infractions indicate that the defendant has engaged

in violence while incarcerated. Id. Moreover, Brown has not incurred a single disciplinary

infraction in the last four years. ECF 157-8. This reflects Brown’s maturation and control.




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            Correspondence in the Chambers file supports the government’s assertion.

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       And, beyond staying out of trouble, Brown has also bettered himself and endeavored to

better others. To illustrate, he has obtained his GED and has successfully completed and taught a

number of education classes. ECF 157 at 19-20; ECF 157-8. He has also written a number of

books, and he has become a spiritual mentor for numerous other inmates. Id. In addition to the

letter of support from Mr. Brown’s wife of 26 years (ECF 157-1), several of Brown’s fellow

prisoners have written on his behalf, noting that Brown has mentored and counseled them. ECF

157 at 20; ECF 157-2 to ECF 157-6.

       For instance, Antonio Epsey, a former prisoner, said that Brown “has not only been a

father to his own children, but he has fathered every man he has come in contact with. Nacoe

help [sic] me to become the man I am today. He put me on a path of righteousness to the point

where I began to change my thinking.” ECF 157-2. And, Doyle Lee, another former prisoner,

stated: “[A]s a result of knowing and meeting Nacoe and what he taught me I am presently

fulfilling my goals as a productive member to our society. I am equitably employed, married, a

landlord/property owner, minister and mentor at our Church. Nacoe’s leadership, mentoring,

friendship and counseling has helped to shape and mold me…” ECF 157-3.

       Most significant, Brown, who is 52, has already served over 19 years in prison,

amounting to approximately 75% of his 25-year sentence, exclusive of good conduct credit.

ECF 157-8. Factoring in credit for good conduct, Brown has served about 90% of his sentence,

and has approximately 31 months until his release. Id. And, the BOP could release him months

earlier to a residential reentry placement. Id. at 3.

       Finally, Brown’s incarceration in the midst of a global pandemic has “sufficiently

increased the severity of the sentence beyond what was originally anticipated such that the

purposes of sentencing are fully met even with the proposed reduction.” United States v. Green,



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TDC-10-761, 2020 WL 2992855, at *4 (D. Md. June 4, 2020); see also United States v. Park,

No. 16-cr-00473, 2020 WL 1970603, at *5 (S.D.N.Y. Apr. 24, 2020) (noting that a sentence

“that was sufficient but no greater than necessary” may now, in light of COVID-19, become

“one immeasurably greater than necessary”). Thus, given defendant’s incarceration for almost

two decades, a 31-month reduction of his sentence will not undermine the goals of deterrence,

retribution, or rehabilitation.   See United States v. Ebbers, 432 F. Supp. 3d 421, 430-31

(S.D.N.Y. 2020) (explaining that courts should assess under § 3553(a) “whether compassionate

release would undermine the goals of the original sentence”).

       Accordingly, I find that the factors under 18 U.S.C. § 3553(a) weigh in favor of reducing

Brown’s sentence to time served plus fourteen days, pursuant to 18 U.S.C. § 3582(c)(1)(A)(i),

with the added requirement of one year of home confinement as a condition of supervised

release, to be followed by four years of supervised release.

                                       V.    Conclusion

       For the forgoing reasons, I shall grant the Motion (ECF 157).

       An Order follows, consistent with this Memorandum Opinion.



Date: September 25, 2020                                            /s/
                                                     Ellen Lipton Hollander
                                                     United States District Judge




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